Following a jury trial, appellee, Roger Noble, was found guilty on one count of rape, in violation of R.C. 2907.02, one count of kidnapping, in violation of R.C. 2905.01, and one count of gross sexual imposition, in violation of R.C.2907.05. On May 9, 1994, the Lake County Court of Common Pleas sentenced appellee to serve a life term of imprisonment on the charge of rape, and an indefinite term of incarceration of four to ten years on the count of gross sexual imposition, to be served concurrently. The trial court determined that the charge of kidnapping was an allied offense to the charge of rape and ordered no further sentence as to that count. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed August 25, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                                     ------------------------ JUDGE WILLIAM M. O'NEILL
FORD, P.J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.